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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 BITMANAGEMENT SOFTWARE GMBH,

                          Plaintiff,                    Case No. 16-840 C
                 v.
                                                        Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                          Defendant.



     JOINT REVISED MOTION TO SCHEDULE SUMMARY JUDGMENT BRIEFING

1.       Plaintiff Bitmanagement Software GmbH (“Bitmanagement”) and Defendant the United

States of America (the “Government”), respectfully submit this joint revised motion requesting

that the Court approve the Parties’ proposed schedule for summary judgment briefing set forth

below.

2.       The current scheduling order regarding summary judgment, entered on November 13,

2017 (Dkt. No. 20), provides that motions for summary judgment be filed 60 days after the close

of fact discovery. On January 19, 2018, the Court in part denied the Parties’ joint motion

regarding summary judgment briefing because “[t]he Court is not in favor of simultaneous

briefing.” (Dkt. No. 22). Accordingly, the Parties inform the Court that Plaintiff, but not

Defendant, intends to move for summary judgment and propose the following briefing schedule:

 Event                                 Proposed Deadline

 Plaintiff’s Motion for                March 2, 2018
 Summary Judgment

 Defendant’s Response to               April 13, 2018
 Plaintiff’s Motion for
 Summary Judgment
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 Plaintiff’s Reply Brief in       May 4, 2018
 Support of Summary
 Judgment

3.     The Parties believe the proposed schedule will provide sufficient time to complete expert

discovery and any summary judgment briefing. Accordingly, the Parties respectfully request that

the Court enter an order setting forth the Parties’ proposed schedule.



 Dated: January 24, 2018                 Respectfully Submitted,

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                        Respectfully submitted,

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